
44 A.3d 424 (2012)
426 Md. 432
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Jesse H. INGRAM, Respondent.
Misc. Docket AG No. 60, Sept. Term, 2011.
Court of Appeals of Maryland.
May 9, 2012.

ORDER
This matter came before the Court on the Joint Petition of the Attorney Grievance Commission of Maryland and Respondent, Jesse H. Ingram, Esquire, to disbar the Respondent from the practice of law.
The Court having considered this Petition, it is this 9th day of May, 2012.
ORDERED, that Respondent, Jesse H. Ingram, be and he is hereby disbarred from the practice of law in the State of Maryland.
ORDERED, that the Clerk of this Court shall remove the name of Jesse H. Ingram from the register of attorneys in the Court and certify that fact to the Client Protection Fund of the Bar of Maryland and all Clerks of all judicial tribunals in this State in accordance with Maryland Rule 16-772(d).
